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Case 4:21-cr-00102-CVE Document 1 i 1} f= ID) cel Page 1 of 1
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AO 442 (Rev. 10/13) Arrest Warrant
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UNITED STATES DISTRICT COURT =“) S'P 22 py, 5.
for the =e
Northern District of Oklahoma N/€ A

 

United States of America )
v. )
) Case No. 21-CR-102-CVE
CURTIS ANTHONY JONES ) I L FE D
Defendant ) He
ARREST WARRANT OCT 26 2021
To: Any authorized law enforcement officer Me Oe

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) CURTIS ANTHONY JONES,
who is accused of an offense or violation based on the following document filed with the court:

L] Indictment Second Superseding Indictment [J Information [] Superseding Information [1 Complaint

(} Probation Violation Petition [1] Supervised Release Violation Petition [1 Violation Notice (1) Order of the Court

This offense is briefly described as follows:

21 U.S.C. §§ 846 and 841(b)(1)(A)(viii) — Drug Conspiracy
21 U.S.C. § 853, 18 U.S.C. § 981(a)(1)(C), and 28 U.S.C. § 2461 — Drug and Racketeering Forfeiture

Date: SEP ia 2021

 

fssuing  obiger ’s signature

City and state: Tulsa, Oklahoma Mark McCartt. Court Clerk

Printed name and title

 

 

Return

 

 

This warrant was received on (date) 9 fi evt/ Zi , and the person was arrested on (date) Pir 27 e ey
At (city and state) ,

Date: (G/ 24 /U LZ
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Abesting officer's signature
lone Wyte, bris

 

 

 

 

WOR- Arrested in wimo. Printed name and titfe

 

 

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